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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
_______________________________________
 HAGGAI et al.,

                    Plaintiffs                           Case No. 25-cv-02400-JAV

                        v.

 KISWANI et al.,

                   Defendants.


                             NOTICE OF MOTION TO DISMISS

       PLEASE TAKE NOTICE that, upon the annexed Memorandum of Law dated June 19,

2025, and the pleadings had herein, Defendant Maryam Alwan, in her individual and

representative capacities, by and through her undersigned counsel, will move this Court, before

the Honorable Jeannette A. Vargas, at the United States Courthouse, Southern District of New

York, 500 Pearl Street, Room 703, New York, NY 10007, on a date and a time to be set by the

Court, to dismiss this action for failure to effect proper service pursuant to Federal Rule of Civil

Procedure 12(b)(5), for failure to state a claim pursuant to Federal Rule of Civil Procedure

12(b)(2), and for lack of subject matter jurisdiction over the Alien Tort Statute (terrorism) claim

pursuant to Federal Rule of Civil Procedure 12(b)(1).


Dated: June 19, 2025
       New York, NY
                                                      Respectfully submitted,

                                                      /S/ Joseph Pace
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                                                      New York, NY 10005
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To: All counsel of record (via ECF)
